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COUNSEL FOR LLOYD EUGENE WARD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  IN RE:                                      §
                                              §
  LLOYD EUGENE WARD                           §
                                              §
        Debtor                                §
  _________________________________           §
  MICHAEL FRANK, DANA BLOCK,                  §
  GREG BURKE, JESSICA CASEY,                  §
  VICTORIA CASTILLO, JEREMY                   §
  COZART, JOHNNY KEEL, VALLERY                §
  MANN, JO MINAYA, BRIAN PARKER,              §         CIVIL ACTION NO.
  CHRISTOPHER PITRE, TIM CARR,                §
                                                        3:17-CV-0692-G
  CODDI DEAN AND JOHN NELSON                  §
  AND ROBERT YAQUINTO, CHAPTER 7              §
  TRUSTEE                                     §
                                              §
          Plaintiffs                          §
                                              §
  vs.                                         §
                                              §
  LLOYD EUGENE WARD                           §
                                              §
          Defendant                           §
                                              §


                             AMENDED NOTICE OF APPEAL

        Lloyd Eugene Ward, the defendant in the matter below, pursuant to 28 U.S.C. 158(d),

hereby appeals to the United States Court of Appeals for the Fifth Circuit from that certain



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Judgment of the United States District Court for the Northern District of Texas on March 15, 2018,

at docket no. 20 including, to the extent necessary, that certain Memorandum Opinion and Order

entered by the District Court on March 15, 2019, at docket no. 19.

       The parties to this appeal, and their counsel of record, are as follows:

       Appellant (Defendant below):

               Lloyd Eugene Ward

               Represented by:

               James S. Brouner
               12770 Coit Road, Suite 541
               Dallas, Texas 75251
               (972) 628-4902 Phone
               jbrouner@weisbartlaw.net

       Appellees (Plaintiffs below):

                Robert Yaquinto, in his capacity as the Chapter 7 Trustee for the
                       bankruptcy estate of Lloyd Eugene Ward
               Michael Frank
               Dana Block
               Jessica Casey
               Victoria Castillo
               Jeremy Cozart
               Johnny Keel
               Vallery Mann
               Jo Minaya
               Brian Parker
               Christopher Pitre
               Tim Carr
               Coddi Dean
               John Nelson
               Represented by:
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RESPECTFULLY SUBMITTED this 16th day of April 2018.


                                             By: /s/ James S. Brouner
                                                 James S. Brouner
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                                                 Dallas, Texas 75251
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served via the Court’s ECF system on all parties requesting notice in this proceeding on April
16, 2018, including the individuals identified below.

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                                             /s/ James S. Brouner
                                             James S. Brouner




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